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                                        IN THE UNITED STATES DISTRICT COURT
                                           WESTERN DISTRICT OF ARKANSAS
                                               FAYETTEVILLE DIVISION

                  UNITED STATES OF AMERICA                                    PLAINTIFF/RESPONDENT

                  V.                                   NO. 12-50008-001

                  CELEN ZENDEJAS                                              DEFENDANT/MOVANT

                             MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

                         Before the Court is Defendant’s pro se 28 U.S.C. § 2255 motion (Doc. 316). Defendant

                  currently has a direct appeal pending before the Eighth Circuit Court of Appeals. Accordingly,

                  he has prematurely filed his § 2255 motion. See United States v. Jagim, 978 F.2d 1032, 1042

                  (8th Cir. 1992). The undersigned, therefore, recommends that the § 2255 motion be DISMISSED

                  WITHOUT PREJUDICE.

                         The parties have fourteen days from receipt of our report and recommendation in

                  which to file written objections pursuant to 28 U.S.C. 636(b)(1). The failure to file timely

                  objections may result in waiver of the right to appeal questions of fact. The parties are

                  reminded that objections must be both timely and specific to trigger de novo review by the

                  district court.

                         DATED this 19th day of March, 2013.




                                                               /s/ Erin L.   Setser
                                                               HON. ERIN L. SETSER
                                                               UNITED STATES MAGISTRATE JUDGE




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(Rev. 8/82)
